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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


FRANK CARBONE, ANDREW CORZO, SAVANNAH
ROSE EKLUND, SIA HENRY, ALEXANDER LEO-
GUERRA, MICHAEL MAERLANDER, BRANDON
PIYEVSKY, KARA SAFFRIN, and BRITTANY                Case No. 1:22-cv-00125
TATIANA WEAVER, individually and on behalf of all
others similarly situated,                          Hon. Matthew F. Kennelly

                   Plaintiffs,                      Hon. Gabriel A. Fuentes

      v.

BROWN UNIVERSITY, CALIFORNIA INSTITUTE OF
TECHNOLOGY, UNIVERSITY OF CHICAGO, THE
TRUSTEES OF COLUMBIA UNIVERSITY IN THE
CITY OF NEW YORK, CORNELL UNIVERSITY,
TRUSTEES OF DARTMOUTH COLLEGE, DUKE
UNIVERSITY, EMORY UNIVERSITY,
GEORGETOWN UNIVERSITY, THE JOHNS
HOPKINS UNIVERSITY, MASSACHUSETTS
INSTITUTE OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME DU
LAC, THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY, and
YALE UNIVERSITY,

                   Defendants.



              DEFENDANT YALE UNIVERSITY’S RULE 12(b)(6)
       MOTION TO DISMISS THE AMENDED CLASS ACTION COMPLAINT
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       Yale University joins in full the Defendants’ Joint Motion to Dismiss. This separate motion

highlights an independent reason Plaintiffs’ claims against Yale should be dismissed: Plaintiffs

do not—and cannot consistent with Rule 11—allege that Yale follows the Consensus Methodology

in determining a student’s need for financial aid. To the contrary, Plaintiffs expressly allege that

Yale stopped using the Consensus Methodology by 2009 and do not allege that Yale ever used it

again. Thus, any claims against Yale must be dismissed.

                                          ARGUMENT

       Plaintiffs’ complaint is largely bereft of allegations about Yale. And the allegations they

do make demonstrate that Plaintiffs’ claims against Yale must be dismissed. Plaintiffs allege that

“Defendants” generally injured them by “agreeing on” and “imposing a common aid

methodology.” Am. Compl. ¶ 259. But they allege that Yale stopped following that methodology

in 2008 or 2009. See id. ¶ 124 (describing “Yale’s withdrawal” from the 568 Group in 2008). By

Plaintiffs’ own account, Yale implemented a “new methodology” in “early 2009.” Id. ¶ 123.

Under the Clayton Act’s four-year statute of limitations, any claims against Yale for allegedly

agreeing to use the Consensus Methodology should have been filed by 2013—nine years before

Plaintiffs filed their complaint in this case—and are now time-barred. See generally Jt. Mot. § IV.

       Plaintiffs’ allegation that Yale “evidently rejoined” the 568 Group sometime in 2018 does

not change anything. Am. Compl. ¶ 124. Plaintiffs conspicuously fail to allege that Yale

discontinued its new methodology and reinstated the Consensus Methodology. Simply alleging

that Yale rejoined the 568 Group is insufficient to create a reasonable inference that Yale agreed

to use the Consensus Methodology—particularly when Congress has found that member schools

need not, and some do not, use that methodology. See H.R. Rep. 114-224 (2015) (recognizing that

the Consensus Methodology “is not binding” and results in “different, and competitive, financial
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aid packages”).1 See also Bell Atlantic v. Twombly, 550 U.S. 544, 556-57 (2007) (plaintiffs must

allege enough facts to make claims plausible, not just possible); Jt. Mot. § II(A)(1).

         Plaintiffs offer a conclusory assertion that in 2008 Yale may have believed that using the

Consensus Methodology was mandatory. Am. Compl. ¶ 124. But even if that were true, Plaintiffs

do not, and cannot, allege that Yale adhered to the Consensus Methodology at any time during the

four-year statute of limitations period. Plaintiffs’ claims are thus untimely as a matter of law. See,

e.g., Alarm Detection Sys., Inc. v. Orland Fire Prot. Dist., 129 F. Supp. 3d 614, 634 (N.D. Ill.

2015) (dismissing antitrust claims as untimely).

                                               CONCLUSION

         WHEREFORE, Plaintiffs’ claims against Yale should be dismissed with prejudice.



    Dated: April 15, 2022                                    Respectfully submitted,


    /s/ Stephen J. Siegel                                    By: /s/ Charles A. Loughlin
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                                         Counsel for Yale University



1
  Congressional reports are properly before the Court on this Rule 12(b)(6) motion to dismiss because they are
incorporated into the complaint by reference, see Am. Compl. ¶¶ 185-92 (citing legislative history), and properly
subject to judicial notice. See Orgone Cap. III, LLC v. Daubenspeck, 912 F.3d 1039, 1044 (7th Cir. 2019) (courts
may consider documents that a complaint incorporates by reference on a motion to dismiss); Fed. R. Evid. 201(b)(2).

                                                        2
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on April 15, 2022, I caused a true and correct copy of the foregoing

Defendant Yale University’s Rule 12(b)(6) Motion to Dismiss the Amended Class Action

Complaint to be filed electronically with the Court’s CM/ECF system, and that notice of this filing

was sent by electronic mail to all parties by operation of the Court’s electronic filing system.


                                                            /s/ Serena G. Rabie
                                                            Serena G. Rabie




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